                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at KNOXVILLE


RODOLFO BORJA TORRES                             )
                                                 )
              Petitioner,                        )
                                                 )
v.                                               )        3:03-cr-101
                                                 )        3:07-cv-035
                                                 )        Jordan
                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
              Respondent.                        )


                                  JUDGMENT ORDER


       In accordance with the accompanying Memorandum, the motion to vacate, set aside

or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED and this action is

DISMISSED. All other pending motions are DENIED as MOOT. Should the petitioner

give timely notice of an appeal from this decision, such notice will be treated as an

application for a certificate of appealability, which under the circumstances is DENIED. The

court CERTIFIES that any appeal from this action would not be taken in good faith and

would be totally frivolous. Therefore, this court hereby DENIES the petitioner leave to

proceed in forma pauperis on appeal.


              E N T E R:
                                                           s/ Leon Jordan
                                                     United States District Judge
ENTERED AS A JUDGMENT
   s/ Patricia L. McNutt
   CLERK OF COURT


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